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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA
  TYRESE DREW,
                               Plaintiff,
  v.                                               Case No.: 6:23-cv-00286-JAR
  CORECIVIC, Inc., et al.,

                               Defendants.


  PLAINTIFF’S RESPONSE TO CORECIVIC’S APPLICATION FOR ORDER
       DIRECTING PREPARATION OF MARTINEZ REPORT AND
      HOLDING IN ABEYANCE ANSWER OR RESPONSE DEADLINE

                                    I. INTRODUCTION

       This is not a pro se action. Thus, the Court lacks authority to order the “Martinez

report” requested by Defendant. Nor is this the typical likely frivolous pro se “prisoner suit”

that Martinez was designed to mitigate. Instead, Plaintiff was brutally assaulted while in

Defendant’s custody—and there is good evidence that Defendant’s personnel were

involved in and/or facilitated that assault.

       Plaintiff was initially housed at Lawton Correctional Facility but was transferred to

Davis Correctional Facility (run by Defendant CoreCivic) after experiencing threats of

violence and actual violence for her status as a transgendered woman (born male but

feminine in presentation). Upon her arrival, Plaintiff told the staff at Davis about her

experience at Lawton and her concerns that she would again be attacked. When such threats

materialized, Plaintiff asked Defendant to protect her. Defendants instead often left

Plaintiff unguarded and vulnerable to attack. Ultimately, Plaintiff requested that she be

placed in solitary confinement—for her own protection.



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       On the day Plaintiff was assaulted, Defendant Scott, a Davis Correctional Officer,

left Plaintiff alone and unguarded in an outdoor fenced area called the “cage.” Two inmates,

“Wainscott” and “Barrett,” were able to obtain a set of clippers which they then used to cut

the wire at the top of the cage so that they could enter the cage to assault Plaintiff. Wainscott

and Barrett beat Plaintiff mercilessly causing several serious injuries including a

debilitating brain injury. Plaintiff was in a vegetative state for some 225 days after the

assault and was left with severe cognitive and neurological impairment and left-side

paralysis. Though Plaintiff ultimately regained consciousness, she now requires round the

clock care. She cannot bathe, eat, or use the toilet without assistance. Plaintiff was paroled

in October of 2022 (so that the Department of Corrections would no longer have to pay for

her care).

       It is now known that Defendant Scott was involved in a close relationship with

inmate Wainscott. It is believed that Scott aided or at least facilitated the attack on Plaintiff.

But Scott is not the only correctional officer who enabled the history of violence against

Plaintiff. As noted above, even before Plaintiff was brutally beaten by Wainscott and

Barrett, she had been routinely left unguarded by Defendants’ with their full knowledge of

her vulnerability to attack. It is also now known that what happened to Plaintiff under

CoreCivic’s care was no isolated incident. CoreCivic (and Davis Correctional Facility)

have a long, substantiated history of violence against vulnerable inmates that far exceeds

the national average for similar facilities. To this point, CoreCivic is the subject of an FBI

investigation as well as investigations from at least two states’ Departments of Corrections

for its unusual history of violence—and for hiding evidence that is has routinely failed to


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protect vulnerable inmates from expected violence.

       Rather than answer Plaintiff’s complaint, CoreCivic asks the Court to stay

proceedings and order a “Martinez report.” Not only should the Court not grant the request,

but the relevant statutory scheme does not even give the Court power to grant such relief.

That is because a Martinez report is a function of the pro se in forma pauperis statute, 28

U.S.C. § 1915. Per § 1915(e), a court may dismiss such a pro se prisoner’s suit if the court

determines that the allegation of poverty is untrue or if the action is frivolous, fails to state

a claim, or seeks damages against a defendant with suit immunity. That this is a procedure

for use in pro se suits only is made clear in the very cases cited by Defendant. The reason

for this dichotomy is clear and simple: “Prisoner pro se civil rights complaints concerning

their imprisonment cannot always receive the same presumption of merit that attends cases

filed by attorneys subject to the court's disciplinary sanctions.” Gee v. Estes, 829 F.2d 1005,

1007 (10th Cir. 1987) (cited along with Martinez v. Aaron, in Hall v. Bellmon). Here by

contrast to the cited cases, this gravely injured Plaintiff is represented by experienced legal

counsel who are subject to all the disciplinary rules and sanctions applicable to officers of

the court. The Court must deny Defendant’s application since the relevant statute has no

application to a represented plaintiff.

                          II. ARGUMENT AND AUTHORITY

       Defendant is simply wrong with its claim that ascertaining the factual and legal basis

for a prisoner’s claim is “not altered . . . because a plaintiff has retained counsel.” Perhaps

the need to do so exists, but the means do not include the requested relief. The means for

ascertaining the factual and legal basis for a represented plaintiff are the usual means such


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as a motion to dismiss or for summary judgment. To this point, Defendant concedes that

“a Martinez report is usually ordered when the plaintiff is a pro se prisoner.” Indeed! That

is because the statutory basis for such a report is derived solely from the pro se in forma

pauperis statute. This is evident even in the cases cited by Defendant.

       First, there is Martinez. That was a suit by twelve inmates at the New Mexico State

Penitentiary. They alleged that prison officials “stole” cigarettes, coffee, toothpaste, and

underwear during a contraband search. The district court ordered the prison officials to

investigate, including interrogating the prisoners to create a “record” to assist the court in

deciding whether the claims were “frivolous” as set out in 28 U.S.C. § 1915. 1 Martinez v.

Aaron, 570 F.2d 317, 318-19 (10th Cir. 1978).

       Defendant then cites Hall v. Bellmon for a proposition that such a report “may be

necessary” in a prisoner suit. Defendant omits the important introductory clause to this

holding from Hall. Here is the holding in its entirety: “When the pro se plaintiff is a

prisoner, a court-authorized investigation and report by prison officials (referred to as a

Martinez report) is not only proper, but may be necessary to develop a record sufficient to

ascertain whether there are any factual or legal bases for the prisoner's claims.” Hall v.

Bellmon, 935 F.2d 1106, 1109 (10th Cir. 1991). Emphasis added. The above holding comes

after the court had already explained that the case was about “the procedure and law


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  The court also ordered the report to aid answer the jurisdictional question of whether the
Plaintiff had exhausted administrative remedies. The Supreme Court has since abrogate
this pleading requirement. See, e.g., McGhee v. Williams, No. CIV-04-0239 MV/LAM,
2007 U.S. Dist. LEXIS 117924, at *4 (D.N.M. Aug. 23, 2007) (that requirement would
not apply here, regardless, since Plaintiff was no longer incarcerated when suit was filed.
E.g., Norton v. City of Marietta, 432 F.3d 1145, 1150 (10th Cir. 2005).

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applicable to the three most common pretrial points at which a district court may dispose

of a pro se complaint.” Id. at 1108. Emphasis added.

       After the above, the court explains that § 1915 permits the court to dispose of

frivolous or malicious claims. Id. A claim is frivolous for § 1915 purposes if it contains

“inarguable legal conclusion[s]” or “fanciful factual allegation[s].” Id. The court then

explains the purpose of this portion of § 1915 “is ‘to discourage the filing of, and waste of

judicial and private resources upon, baseless lawsuits that paying litigants generally do not

initiate. . . .’” Id. Emphasis added. Finally, the court makes clear that the “purpose” of the

Martinez report is to “aid[] the court in its broad reading of the pro se litigant’s pleadings .

. . by supplementing a [pro se] plaintiff’s often inadequate description of the practices that

he contends are unconstitutional.” Id. at 1112. Thus, Hall, consistently with the statute also

limits the Martinez report to pro se cases.

       In addition to citing Martinez for authority for such reports, Hall also cites Gee v.

Estes, 829 F.2d 1005 (10th Cir. 1987). Gee was quoted in the introduction for its

explanation of the purpose of § 1915: “Prisoner pro se civil rights complaints concerning

their imprisonment cannot always receive the same presumption of merit that attends cases

filed by attorneys subject to the court's disciplinary sanctions.” Id. at 1007. The reason the

courts need a special procedure for pro se prisoner suits is because: “Prisoners with time

on their hands may seek a short sabbatical in the form of a trip to court, and they may even

use complaints to harass guards and other prison officials.” Id. The undersigned can assure

the Court that she does not seek such a federal court “sabbatical” and that she has more

productive tasks than “harassment” to occupy her time.


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       Gee also makes clear, like Hall, that the purpose of the Martinez report is to clarify

a pro se litigants “conclusional allegations.” Id. That is so the court can “ascertain whether

there is a legal as well as a factual basis for the prisoner’s claims.” Id. There is nothing

conclusory about Plaintiff’s allegations, here. They are quite detailed and fully describe the

complained of conduct.

                                   III. CONCLUSION

       Defendant requests relief to which it is not entitled. The report referenced in

Martinez v. Aaron is a creation of the pro se in forma pauperis statute that has no

application to a represented party. The application must be denied.

                                            Respectfully submitted,

                                            /s/ A. Laurie Koller___________
                                            A. Laurie Koller, OBA #16857
                                            Ashley H. Leavitt, OBA #32818
                                            Koller Trial Law, PLLC
                                            laurie@kollertriallaw.com
                                            ashley@kollertriallaw.com

                                            and:

                                            James B. Buxton, OBA #19057
                                            Buxton Law Group
                                            511 Couch Dr., 3rd Floor
                                            Oklahoma City OK 73102
                                            jim@buxtonlawgroup.com

                                            ATTORNEYS FOR PLAINTIFF




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                            CERTIFICATE OF SERVICE

I hereby certify that on October 23, 2023, I filed the attached document with the Clerk of
Court. Based on the records currently on file in this case, the Clerk of Court will transmit
a Notice of Electronic Filing to those registered participants of the Electronic Case Filing
System.

Darrell L. Moore



                                          ____/s/A. Laurie Koller_________




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